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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

                                  11     UNITED STATES OF AMERICA,                           Case No. 24-mc-80137-LB
                                  12                     Plaintiff,                          ORDER REGARDING APPLICATION
Northern District of California




                                                                                             TO SERVE REQUEST FOR
 United States District Court




                                  13              v.                                         DISCOVERY FOR USE IN A FOREIGN
                                                                                             PROCEEDING
                                  14     META PLATFORMS INC.,
                                                                                             Re: ECF No. 1
                                  15                     Defendant.

                                  16

                                  17      The United States of America applied ex parte under 28 U.S.C. § 1782 to obtain discovery

                                  18   from Meta for use in a civil case in Argentina. Meta does not oppose the application but reserves

                                  19   its right to object when it responds to the subpoena. (Appl. – ECF No. 1 at 1.) Because the

                                  20   undersigned lacks jurisdiction to decide Section 1782 applications without the consent of all

                                  21   parties, this order sets forth a procedure to position the matter for decision.

                                  22      Section 1782 provides that “[t]he district court of the district in which a person resides or is

                                  23   found may order him to give his testimony or statement or to produce a document or other thing for

                                  24   use in a proceeding in a foreign or international tribunal.” 28 U.S.C. § 1782(a). An ex parte

                                  25   application is an acceptable method for seeking discovery pursuant to Section 1782. In re Letters

                                  26   Rogatory from Tokyo Dist., 539 F.2d 1216, 1219 (9th Cir. 1976) (subpoenaed parties may raise

                                  27   objections and exercise their due-process rights by moving to quash the subpoenas). That said, “a

                                  28   magistrate judge may not issue binding rulings on case-dispositive matters without the parties’

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                                   1   consent.” CPC Pat. Techs. Pty Ltd. v. Apple, Inc., 34 F.4th 801, 807 (9th Cir. 2022). And Section

                                   2   1782 applications are case-dispositive matters. Id. at 807–08. Without the consent of all parties, the

                                   3   undersigned lacks jurisdiction to enter an order resolving the application. Accordingly, the

                                   4   following procedure is ordered to properly position the matter for decision.

                                   5      First, as the United States sets forth in its proposed order, it will serve Meta with (1) this order

                                   6   and (2) the application and all associated documents (including the subpoena).

                                   7      Second, within twenty-one days after it is served by the United States, Meta will provide a copy

                                   8   of the subpoena to the account owner and advise them that it will provide responsive information to

                                   9   the subpoena unless the account holder files, within twenty-one days of receipt of the subpoena, an

                                  10   objection or a motion to quash.

                                  11      Third, within thirty days from its receipt of the subpoena, Meta must move to quash the

                                  12   subpoena if it asserts objections that require adjudication or, if no objection from the account holder
Northern District of California
 United States District Court




                                  13   is made, then Meta will provide the requested information and a notarized verification under penalty

                                  14   of perjury to the United States via secure email or file share to andrew.mainardi@usdoj.gov.

                                  15      Fourth, if Meta files a response to the application, then the court will issue a letter advising that

                                  16   all parties must, within seven days of the letter, file a consent or declination to magistrate-judge

                                  17   jurisdiction pursuant to 28 U.S.C. § 636(c).

                                  18      Fifth, if all parties consent within that time period, the undersigned will enter an order

                                  19   resolving the application. Otherwise, the matter will be randomly reassigned to a district judge.

                                  20      IT IS SO ORDERED.

                                  21      Dated: June 8, 2024

                                  22                                                     ______________________________________
                                                                                         LAUREL BEELER
                                  23                                                     United States Magistrate Judge
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